                          UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:08-cr-134


UNITED STATES OF AMERICA            )
                                    )
            v.                      )                     ORDER
                                    )
ALEJANDRO UMANA                     )
____________________________________)



         THIS MATTER is before the Court on motion by appellate counsel for the

defendant requesting certain jury selection materials, (Doc. No. 1501), to which the

government takes no position.

         IT IS, THEREFORE, ORDERED that the following materials shall be provided

to appellate counsel for both parties by the Clerk of Court within 20 days:1

         1.        an electronic copy of substantive juror questionnaires;

         2.        an electronic copy of preliminary qualification questionnaires returned by

                   potential jurors prior to the selection process; and

         3.        an electronic copy of the report from the jury management system

                   database listing potential jurors who were excused, deferred, or

                   disqualified by the Court prior to the selection process based on responses

                   to preliminary qualification questionnaires.2




         1
              The Court shall retain an electronic copy of materials provided pursuant to this
Order.
         2
          The Court shall enter a separate order under seal listing the potential jurors the
parties jointly moved to strike, and the Court excused for cause, following review of
substantive juror questionnaires.

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       IT IS FURTHER ORDERED that appellate counsel shall be under the same

restrictions as trial counsel regarding such juror information, including the prohibitions

against referring to jurors by name and disclosing identifying information. Additionally,

the electronic files provided to counsel shall not be copied or transferred to any computer

or electronic storage device and must be returned to the Court, along with any printed

material from the files, upon conclusion of the appeal.

       The Clerk is directed to provide copies of this Order to appellate counsel for the

defendant, appellate counsel for the United States, and to the Clerk of the United States

Court of Appeals for the Fourth Circuit.

                                           Signed: August 21, 2012




                                              2


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